Case 2:04-cv-02141-.]DB-dkv Document 17 Filed 06/14/05 Page 1 of 2 Page|D 21

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FOR THE WESTERN DIsTRlCT oF TENNESSEE " ~»-.. D.e.
WEsTERN DIVISION 05 JUM , h AH 9
, : 08
vINCENT LEFFLER and JANIS §OB§H; T ,
LEFFLER, lndividually, and as next ff;£§£‘r”(l‘: 511:.‘55.%63?§3§#;“&;)
friend OrMADtsoN LEFFLER, " l't»‘?t»ras;s§
Plaintiffs,

v. NO. 04-2141

MEMPHIS CITY SCHOOL BOAR_D
OF EDUCATION,

Det`endant.

 

ORDER TO SHOW CAUSE WHY DEFENDANT’S MOTION
FOR SUMMARY JUDGMENT SHOULD NOT BE GRANTED

 

Before the Court is the May 6, 2005 motion for summary judgment by the Defendant,
Memphis City School Board of Education, against the Plaintiffs. According to the Court's docket,
no response has been filed on behalf of the Piaintiffs, even though the deadline for such a response
has expired.l Accordingly, the Plaintiffs are hereby directed, vvithin eleven (l l) days of the entry
hereof, to show cause why the motion referenced herein should not be granted Failure of the
Plaintiffs to comply in a timely manner With this order may result in dismissal vvith prejudice ot`

Plaintiffs’ claims.

IT IS SO ORDERED this( Eday o:June:QOS .

A EL BREEN
ITE STATES DISTRICT JUDGE

 

IUnder the Local Rules of this district, responses to motions for summary judgment "must
be filed Within thirty days of service ofthe motion." LR7.2, Local Rules ofthe U.S. Dist. Ct. for
the W. Dist. ofTenn.

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with Rula 58 and!or 79(3) FRCF on §

 

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 17 in
case 2:04-CV-02141 Was distributed by f`aX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

